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                                                         U.S. Department of Justice

                                                         Matthew M. Graves
                                                         United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                       February 11, 2022

Via Email

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                 Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)


Dear Counsel:

        We write pursuant to Fed. R. Evid. 404(b) to provide notice of uncharged crimes, wrongs,
or acts, which the government may seek to introduce at trial. 1 As you are aware, “Rule 404(b) is
a rule of inclusion rather than exclusion.” United States v. Douglas, 482 F.3d 591, 596 (D.C. Cir.
2007) (quoting United States v. Bowie, 232 F.3d 923, 929 (D.C. Cir. 2000)). Thus, evidence of
other acts by a defendant are admissible under the rule unless they “lack[] any purpose but proving
character.” Bowie, 232 F.3d at 930.

             •   On or about December 12, 2020, Henry “Enrique” Tarrio participated with a group
                 that included members of the Proud Boys in the theft and destruction of a banner
                 that read, “#BLACKLIVESMATTER,” which was property of Asbury United
                 Methodist Church in Washington, D.C. Additionally, on or about January 4, 2021,
                 Mr. Tarrio unlawfully possessed two high-capacity magazines that bore Proud
                 Boys insignias. As a result of these actions, Mr. Tarrio entered a plea of guilty to
                 one count of Attempted Possession of a Large Capacity Ammunition Feeding
                 Device and one count of Destruction of Property in Superior Court for the District
                 of Columbia, Case Nos. 2021 CF2 000105 and 2021 CMD 000106, on July 19,


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        The information contained in this letter represents the information known to us currently.
If we learn of additional information, we will notify you promptly.
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      2021. The government may seek to introduce evidence related to these two criminal
      acts committed by Mr. Tarrio at trial, along with his January 4, 2021 arrest. These
      criminal acts are inextricably intertwined with communications of the defendants
      on January 4 – 6, 2021, as the defendants and others prepared for the events of
      January 6. In addition, Mr. Tarrio’s location and absence from Washington, D.C.
      on January 6 is a question that must be addressed at trial.

  •   On or about December 12, 2020, several members of the Proud Boys were involved
      in an altercation in the District of Columbia in which Proud Boys members were
      injured, including a knife wound suffered by Jeremy Bertino. The government may
      seek to introduce evidence of the events leading up to and immediately following
      that stabbing, in trial in this case. As with the incident involving Mr. Tarrio, these
      acts are inextricably intertwined with communications of the defendants on January
      4 – 6 as the defendants and others prepared for the events of January 6. In addition,
      Mr. Bertino’s location and absence from Washington, D.C. on January 6 is a
      question that must be addressed at trial.

  •   The government may seek to introduce evidence related to illegal drug use by the
      defendants in this case, specifically references in the Telegram chats previously
      provided to you in discovery related to drug use. This evidence is inextricably
      intertwined with evidence of the charged conduct that appears throughout the
      Telegram chats. We note that certain of these statements are made in the context of
      the Capitol. For example, as you know from discovery already provided, on January
      6, 2021, Telegram user “Aaron of the Bloody East” stated in a chat involving all of
      these defendants, “I got some good shit, let’s do a bump in the fucking capital,” and
      later that same day in the same thread, defendant Donohoe stated, “I’m ready to do
      some cocaine, where do I meet you,” and defendant Rehl stated, “OK I’m coked
      up, I’m gonna step away unless someone tags me.”

  •   The government may seek to introduce evidence regarding the structure and
      organization of the Proud Boys, including the different “degree” rankings a member
      of the Proud Boys can attain, how they can attain those ranks, and how those
      rankings impact power dynamics between Proud Boys members. Such information
      is not 404(b) information; however, this evidence will include, for example, a
      description of how the rank of “Second Degree” is achieved, wherein a group of
      Proud Boys members assaults the member who seeks Second-Degree status, until
      that member is able to name five cereals, and a description of how the rank of
      “Fourth Degree” is achieved, which requires a member to get in a major fight for a
      cause.

  •   On or about December 21, 2020, a group of armed protestors broke windows and
      unlawfully entered the Oregon State Capitol. The government does not assert that
      these are bad acts attributable to the defendants; however, the government may use
      evidence of these events to establish that those who were aware of these events,
      through communications or media reports, were aware that a state capital building
      had been unlawfully breached as part of a protest after the December 19, 2020,
      announcement of events in Washington, D.C. on January 6, 2021.
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      We trust that this information will allow you to file any motions you believe necessary in
advance of trial.

                                                   Sincerely yours,

                                                   MATTHEW M. GRAVES
                                                   UNITED STATES ATTORNEY

                                            By:           /s/
                                                   Erik M. Kenerson
                                                   Jason B.A. McCullough
                                                   Luke M. Jones
                                                   Assistant United States Attorneys
